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                                                                              FILED IN OPEN COURT
                                                                                  U.S.D.C. -Atlanta

                                                                                  SEP   5 2019
ORIGINAL                                                              B   4      S N./ A?TEN, Clerk
                    IN THE UNITED STATES DISTRICT COURT                                    Deputy Clerk
                   FOR THE NORTHERN DISTRICT OF GEORGIA
                             ATLANTA DIVISION


      UNITED STATES OF AMERICA                  UNDER SEAL

            V.
                                                Criminal Indictment
                                                 No.
      APRIL THOMPSON AND
      JAMES THOMPSON
                                                        I 19-CR-378
   THE GRAND JURY CHARGES THAT:

                                       Count One
                        Conspiracy to Commit Mail and Wire Fraud
                                    (18 U.S.C. § 1349)
      1. Beginning in or about 2011 and continuing until in or about April 2019, the
   exact dates unknown to the Grand Jury, the defendants, APRIL and JAMES
   THOMPSON, did knowingly and willfully combine, conspire, confederate, agree
   and have a tacit understanding with each other and others, both known and
   unknown to the Grand Jury, to devise and intend to devise a scheme and artifice
   to defraud, and to obtain money and property, by means of materially false and
   fraudulent pretenses, representations, and promises, and by the omissions of
   material facts, well knowing and having reason to know that said pretenses were
   and would be false and fraudulent when made and caused to be made and that
   said omissions were and would be material, and, in so doing, caused the United
   States Postal Service and other interstate carriers to be used, and interstate wire
   communications to be made, in furtherance of the scheme and artifice to defraud,
   in violation of Title 18, United States Code, Sections 1341 and 1343.
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                                 BACKGROUND
   It is relevant to the Indictment that during the above-listed time period:
   2. Forest Investment Associates ("FIA") was an Atlanta, Georgia company
that provided timberland investment advisory and management services for
institutional timberland investors.
   3. FIA retained Kingwood Forest Services ("Kingwood") to provide services
to timber properties in various states. Kingwood hired outside contractors to
provide services to FIA properties and then billed FIA for those services.
Kingwood employed the defendant, APRIL THOMPSON, to manage the
invoices submitted to FIA as well as requesting payments to contractors.
   4. The defendants, APRIL and JAMES THOMPSON, operated trucking
companies out of their house in Maud, Texas.
                            MANNER AND MEANS
   5. Beginning in approximately 2011, the defendants, APRIL and JAMES
THOMPSON, conspired to defraud FIA by submitting fraudulent invoices that
falsely claimed that JAMES THOMPSON had provided services to the FIA
timber properties. In actuality, JAMES THOMPSON did not provide the services
claimed on the invoices and was never engaged as a contractor for either
Kingwood or FIA. This scheme caused FIA to pay JAMES THOMPSON over $4
million for services that were never rendered.
   6. It was part of the scheme that during the time that she was employed at
Kingwood, APRIL THOMPSON sent invoices to FIA for services purportedly

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performed by JAMES THOMPSON. When sending these invoices, APRIL
THOMPSON knew that JAMES THOMPSON had not performed these services
and was not entitled to the funds being claimed. For instance, in December 2018,
APRIL THOMPSON sent an invoice to FIA for $9,832.50 that falsely claimed
JAMES THOMPSON had performed "road grading" for 103.5 hours at one of
FIA's timber properties. Both APRIL and JAMES THOMPSON knew that
JAMES THOMPSON did not perform "road grading" - or any work - for FIA,
Kingwood, or any of the FIA timber properties.
   7. The false submissions caused FIA to mail checks to JAMES THOMPSON
for services that he never rendered. By way of example, as a result of the
fraudulent December 2018 invoice, FIA mailed JAMES THOMPSON a check for
$9,832.50. This check, along with the other checks in this scheme, were deposited
into bank accounts under the defendants' joint control.
   8. The defendants thereafter used the fraudulently obtained funds for their
own personal benefit. For instance, in October 2018, the defendants fraudulently
billed FIA for a total of approximately $332,365 for services purportedly
rendered by JAMES THOMPSON. The defendants then spent much of the
fraudulently obtained funds on their trucking companies and for their own
personal benefit, including by making purchases at retail stores, making
substantial cash withdrawals, and paying for the installation of a hot tub and
pool at their personal residence.
   9. The defendants took a number of steps to hide their involvement in the
fraud scheme. For instance, as the Kingwood accounts manager, APRIL

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THOMPSON knew how much money FIA had budgeted for each timber
property. The defendants used this knowledge to keep any fraudulent invoices
within the allotted budget, thereby allowing them to escape detection.
   All in violation of Title 18, United States Code, Section 1349.

                          Counts Two Through Eleven
                                   Mail Fraud
                            (18 U.S.C. § 1341 and § 2)
   10.The Grand Jury re-alleges and incorporates by reference the factual
allegations contained in paragraphs 1 through 9 of this Indictment as if fully set
forth herein.
   11.Beginning in or about 2011, and continuing through in or about April 2019,
the exact dates unknown, in the Northern District of Georgia and elsewhere, the
defendants, APRIL THOMPSON and JAMES THOMPSON, aided and abetted by
each other, did knowingly devise and intend to devise a scheme and artifice to
defraud FIA and to obtain money from FIA by means of materially false and
fraudulent pretenses, representations, and promises, and by the omissions of
material facts, well knowing and having reason to know that said pretenses were
and would be false and fraudulent when made and caused to be made and that
said omissions were and would be material.
   12.On or about the dates listed below for each count, in the Northern District
of Georgia and elsewhere, the defendants, APRIL THOMPSON and JAMES
THOMPSON, aided and abetted by each other, for the purpose of executing and

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attempting to execute the aforementioned scheme and artifice to defraud, and to
obtain money and property by means of false and fraudulent pretenses and
representations, knowingly caused FIA to send the following checks by mail and
by private and commercial interstate carrier to JAMES THOMPSON:


    Count            Date                                 Mailing
      2           11/10/2014                 Check in the amount of $10,530.00
       3           2/2/2015                  Check in the amount of $13,200.00
       4          12/7/2015                  Check in the amount of $14,430.00
       5           2/29/2016                 Check in the amount of $10,890.00
       6          11/7/2016                  Check in the amount of $12,085.00
       7           4/10/2017                 Check in the amount of $13,010.00
       8           9/25/2017                 Check in the amount of $21,090.00
       9           3/19/2018                 Check in the amount of $20,020.00
      10          10/22/2018                 Check in the amount of $41,920.00
      11          1/28/2019                  Check in the amount of $12,301.27

   All in violation of Title 18, United States Code, Section 1341 and Section 2.

                                    Forfeiture
   13. Upon conviction of any the offenses alleged in Counts One through Eleven
of this Indictment, the defendants, APRIL THOMPSON and JAMES
THOMPSON, shall forfeit to the United States, pursuant to Title 18, United States
Code, Section 982(a)(2)(B), and Title 28, United States Code, Section 2461(c), any

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and all property constituting, or derived from, proceeds obtained directly or
indirectly as a result of said violations; and
   14. If any of the above-described forfeitable property, as a result of any act or
omission of the defendant:
          a. Cannot be located upon the exercise of due diligence;
          b. Has been transferred or sold to, or deposited with, a third party;
          c. Has been placed beyond the jurisdiction of the Court;
          d. Has been substantially diminished in value; or
          e. Has been commingled with other property which cannot be divided
             without difficulty;
it is the intent of the United States, pursuant to Title 21, United States Code,
Section 852(p), as incorporated by Title 18, United States Code, Section 982(b), to
seek forfeiture of any other property of said defendants up to the value of the
forfeitable property described above; all pursuant to Title 18, United States Code,




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Sections 981(a)(1) (C) and 982(a)(2)(B), and Title 28, United States Code, Section
2461(c).


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                                                       OREPERSON
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                                          VA
